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DENISE A. WINER
25 Mansel Drive
Reisterstown, MD 21136

and

JONATHAN W!NER
25 Mansel Drive
Reisterstown, M]) 21136

Plaintiffs
v.

LABORATORY CORPORATION
OF AMERICA

358 South Ma'ln Street
Burlington, NC 27215

SERVE ON RESIDENT AGENT:

CSC-Lawyers Incorporating
Service Company

7 St. Paul Street, Suite 1660

Baltimore, MD 21202

Defendant

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COMPLAINT

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BALTIMORE CITY

Case No.:

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Plaintiffs, Denise A. Winer and Jonathan Winer, by their attomeys, Howard A. Janet,

Giles H. Manley, Jason B. Penn, and Janet, Jcnner & Suggs, LLC, hereby sue Laboratory

Corporation of Amen'ca, and for cause, Plaintiffs state the following

INTRODUCTION

1. On February 28, 2011 Denise Winer (“Mrs. Winex”) underwent a robotic radlcal

laparoscopic hysterectomy, bilateral salp'mgectomy and a lymph mode dissection. ln the months

that followed, Mrs. W'Lner required numerous surgical mterventlons secondary to known

complications arls'mg from the radxcal hysterectomy. Mrs. Wmer has experienced extenslve pain

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and suffering in conjunction with severe stress and anxiety`, extensive medical bills and loss of
consortium, arising from the deterioration of her health Mrs. Winer’s injuries are a direct
result of Defendant’s failure to correctly interpret laboratory samples sent to its laboratory for

reporting in 2007, 2008, and 2009

JURISDIC'TION AND VENUE
2. Damages are in excess of the required jurisdictional amount
3 This Court has personal jurisdiction over Defendant pursuant to MD. CODE. ANN ,

CTS. & JUD. PROC, § 6-103 inasmuch as Defendant regularly does and solicits business in
Maryland, engages in a persistent course of conduct in Maryland and/or derives substantial
revenue from goods or services used in Maryland, and thus has purposefully availed itself of the
privileges of conducting business activities in the state of Maryland.

4. lndeed, Defendant operates and has operated diagnostic centers and laboratories
in this State and regularly solicits health care providers in Maryland to submit blood, tissue and
cells to Defendant for testing, evaluation and analysis by Defendant’s laboratories both inside
and outside the State ofMaryland

5 . Venue as to all claims is invoked iri Baltimore City pursuant to MD CODB ANN.,
CTS. & JUD. PROC., § 6-201 et seq., inasmuch as Defendant carries on a regular business and/or is
habitually engaged in a vocation in Baltimore City, and non-resident health care
providers/defendants may be sued in any venue in the State.

THE PARTIES
6, At all times pertinent hereto, Mrs. Winer was a citizen and resident of Stevenson,

Maryland.

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7. At all times pertinent hereto, Joiiathan Winer (“Mr. Winer”) was a citizen of
Stevenson, Maryland.

8. Defendant Laboratory Corporation of America markets itself as being a provider
of leading-edge medical laboratory tests and services to physician offices, hospitals, managed
care organizations, and biotechnology and pharmaceutical companies nationwide

9. liideed, Defendant has asserted that it offers patients and physicians access to
diagnostic laboratory services through its national network of primary clinical laboratories

10. Upon information and belief, some of those laboratories and centers are located in
Maryland.

ll. Defeudant held itself out to the public as competent to conduct, evaluate and
properly report the results of laboratory tests including Pap smears. 'I`hey operated through their
respective actual and/or apparent agent§, servants and employees including, but not limited to,
cytotechriologists and pathologists, who at times acted within the scope of his or her authority.

FACTS COMMON TO ALL COUNTS

12. Denise Winer regularly received physical check-ups including Pap smears. A Pap
smear detects cervical cancer and preeancerous conditions through a laboratory test of cells
scraped from a woman’s cervix

13. Upon information and belief, Mrs. Winer’s regular gynecologist, Dr. Jenny Faber,
took the Pap smear scrapmgs in her Maryland office, forwarded them to Defendant for analysis
and Defendant reported the results of their analysis of the speciinens, in writing, back to Dr.
Faber

14. Defendant knew, or should have known, that Dr. Faber would rely on its

interpretation and report in directing Mrs. Winer’s care

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15. Pap smears taken of Mrs. Winer by Dr. Jenny Faber on or about OCtober 24,
2007, November 3, 2008, and November l6, 2009, were sent to Defendant’s laboratory for
analysis and reporting

16 The 2007 and 2008 Pap smears were sent to Laboratory Corporation of Arnerica’s
laboratory in Herndon, Virginia. 'l`he 2009 Pap smear was sent to Laboratory Corporation of
Arnerica’s laboratory in Charleston, West Virginia for analysis reporting

17 Upon information and belief, Defendant requires its employees to interpret a
minimum number of slides per shiit, a number too high to allow a complete and thorough
examination of cytology slides.

18. In each instance, the Pap smea.rs were read and reported by Defendant as negative
for intraepithelial lesions and malignancy, otherwise stated, normal

19. A Pap srnear collected on November 17, 2010 was sent to Laboratory Corporation
of America for analysis and reporting Defendant this time reported the presence of abnormal
cells In response to the reported presence of abnormal cells, Dr. Faber took several biopsies on
or about December l3, 2010. 'I'he biopsies revealed that Mrs. Winer had endocervical
adenocarcinorna iri situ.

20 Dr Faber immediately referred Mrs. Winer to Dr. Fouad Abbas, a specialist in
gynecologic cancers, including cervical.

21 Dr Abbas explained to Mrs Winer that she would either need a simple vaginal
hysterectomy or possibly a much more complicated radical hysterectomy. Which one would be
performed depended on whether there was evidence of invasive cancer at the time of surgery.

22. Subsequeritly, because invasion of the cancerous cells was highly suspicious on

frozen section, Mrs. Winer underwent a radical hysterectomy. There was bilateral ureteral

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injury, a known complication, during this surgery, requiring Mrs. Winer to undergo multiple
further surgical procedures, suffering great physical and psychological pain, mental anguish,
incontinenee and humiliation.

23. A subsequent review of Mrs Winer’s 2007, 2008 and 2009 Pap slides by an
independent cytologist revealed abnormal cells that required reporting in all three years
examined

24. Defendant owed Mrs. Winer a duty to identify and report abnormal cells on her
submitted Pap smears.

25. Defendant breached its duty to Mrs. Winer by failing to identify problematic and
life-threatening cancer cells in her earlier Pap smear samples Such failures caused this
originally pre-cancerous lesion to go untreated for three years, thereby allowing it to progress
from atypical glandular cells to carcinoma in situ and eventually invasive carcinoma l-lad her
Pap smears been reported properly, Mrs Winer would have been cured with a simple cervical
cone and/or simple vaginal hysterectomy. The delay in diagnosis resulted in Mrs. Winer having
to undergo a much more complicated and radical hysterectomy, and the inherent increased
morbidity associated with same As a direct consequence of the delay in diagriosis, Mrs. Winer
has had to undergo numerous further medical procedures and suffer great physical pain and
mental anguish

26. Had the Defendant adhered to the applicable standards of care, Mrs. Winer Would
not have suffered injury.

ALLEGATIONS OF NEGLIGENCE COMMON TO ALL COUNTS
27 Iri preparing, evaluating, examining and reporting the aforementioned Pap smears

of Mrs. Winer, Defendant, directly and through its respective actual and/or apparent agents,

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servants and employees, owed her the duty to exercise that degree of ordinary skill, knowledge
and judgment, exercised and employed by similar entities and/or persons engaged in same field
of practice, i_n similar circumstances

28. Defendant, directly and through its respective actual and/or apparent agents,
servants and employees, breached that duty, breached the applicable standards of care and was
negligent in the following ways, among others:

A. Faihng to properly prepare the Pap smear for reading and analysis;

B Failmg to properly read and analyze the Pap smear;

C. Failing to properly report the findings',

D Failing to report that the Pap smear was indicative of abnormal glandular
cells and/or adenocarcinorna in situ;

`E. Failing to exercise reasonable care to properly hire, retain, train, and
supervise its laboratory, diagnostic, and other personnel;

F. Failing to institute proper protocols and precautions to prevent
misinterpretation of test Specimens and misreporting results of tests and
exariii'nations;

G. Failing to provide sufficient resources and/or personnel to its diagnostic
and laboratory facilities to ensure accurate interpretation of test specimens
and accurate reporting thereof;

H Failing to otherwise ensure that its agents, servants and employees
complied with all state and federal regulations and with the standard of

care expected of reasonably prudent like persons working under the same

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or similar conditions, and to ensure that its personnel attended to their

duties in an accurate fashion;

I. Failing to report that additional studies Were required to rule out cancer for
Mrs Winer, and,

J. Otherwise acting in a negligent manner and failing to meet the applicable
standards of care

29. As a direct and proximate result of the aforesaid negligence of the Defendant,
collectively and individually, there was a significant delay in the diagnosis of Mrs Winer’s
condition thereby causing her injury

30. As a further direct and proximate result of the aforesaid negligence, Mrs Winer
was caused great physical and psychological pain, mental anguish, loss of income and other
damages

3l. Had Defendant met the applicable standards of care and not acted negligently,
Mrs Winer’s atypical glandular cells would not have progressed to invasive carcinoma and she
would not have suffered injury. To this day, Mrs. Winer continues to suffer significant pain,
stress and emotional and psychological distress, incontinence, incurring substantial medical bills
for the injury.

COUNT ONE »- NEGLIGENCE

32. Pla.intiffs adopt and incorporate all factual allegations contained in paragraphs l
through 31

33 Defendant, directly and through its respective actual and/or apparent agents,

servants and employees, owed the Plaintiff the duty to exercise that degree of care and skill

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which reasonably competent like health care providers would have exercised under the same or

similar circumstances

34. Defendant, directly and through its respective actual and/or apparent agents,

servants and employees, failed to act as a reasonably competent like health care provider would

have acted under the same or similar circumstances breached its duties, deviated from the

acceptable standards of care, and was negligent in many ways, including but not limited to'

A

B
C
D

Failing to properly prepare the Pap smear for reading and analysis,

F ailing to properly read and analyze the Pap smear;

Failing to properly report the findings',

F ailing to report that the Pap srnear was indicative of abnormal glandular
cells and/or adenocarcinoma in situ,

Failing to exercise reasonable care to properly hire, retain, train, and
supervise its laboratory, diagnostic, and other personnel,

Failing to institute proper protocols and precautions to prevent
misinterpretation of test specimens and misreporting results of tests and
examination;

Failing to provide sufficient resources and/or personnel to its facilities to
ensure accurate interpretation of test specimens and accurate reporting
thereof,

Failing to otherwise ensure that its agents, servants and employees
complied with all state and federal regulations, and with the standard of

care expected of reasonably prudent like persons Worlcing under the same

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or similar conditions, and to ensure that its personnel attended to their

duties in an accurate fashion;

I Failing to report that additional studies were required to rule out cancer for
Mrs Winer', and,
J. Otherwise acting in a negligent manner and failing to meet the applicable

standards of care.

35. The above reference negligence of the Defendant, without any negligence on the
part of Denise Winer contributing thereto, proximately caused Denise Winer to suffer severe,
painful, permanent and disabling injuries, including but not limited to past and future physical
pain, incontinence, severe mental anguish and fear of deat.h, emotional pain and suffering,
decreased quality of life and the need for future medical, nursing, hospital, pharmaceutical,
rehabilitative, and custodial care, loss of enjoyment and quality of life, medical and other
expenses, past, present and future. Had Defendant adhered to the applicable standard of care,
Denise Winer Would not have suffered as she has iri the past and will continue to suffer in the
future, both economically and non-econornically.

WHEREFORE, Plaintiff Denise Winer, requests that judgment be entered against the
Defendant Laboratory Corporation of America in an amount that will fully, adequately, justly
and fairly compensate Plaintiff, and interest thereon as allowed by law and the costs of this
action.

COUNT TWO - LOSS OF CONSORTIUM
36. Plaintiffs hereby adopt and incorporate all factual allegations contained iri

paragraphs 1 through 35 .

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37. Denise Winer and Jonathan Winer were husband and wife at the time of the
occurrences referenced in this Cotnplaint, and continue to be husband and wife

38. The negligent conduct of Defendant, directly and proximately caused injury to the
marital relationship of Denise Winer and Jon Winer, including a loss of society, services, _
l affection1 assistance, comfort, companionship, and of sexual relations v

39. Mr. Winer has been caused, presently and in the future, to suffer of the loss of his
spouse’s companionship, services, society and the ability of Mrs. erier, and has in those
respects been impaired and depreciated, and the marital association between husband and wife
has been altered and, accordingly, Mr. Winer has been caused great mental anguish and financial
burden.

WHEREFORE, PlaintiH`s Denise A. Winer and Jonathan Winer request that judgment
be entered against Defendant Laboratory Corporation of America in an amount that will fully,
adequately, justly and fairly compensate them, and interest thereon as allowed by law and the
costs of this action n

Respectfully submitted,

    

 

Howard A. Janet, Esquire /
Giles H. Manley, M.D., J.D..,
Jason B. Penn, Esquire

JANET, JENNER, SUGGS, LLC
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ELECTION FOR JURY TRIAL

Plaintiffs, Denise A Winer and Jonathan Winer, by and through their attorneys Howa.rd
A. Janet, Giles H. Manley, Jason B. Penn, and Janet, Jenner & Suggs, LLC, hereby elect to have

this case tried by ajury.

Respectfully Submitted,

 

Howard Janet, Esquire

Giles H. Manley, M.D., J D

Jason B. Penn, Esquire

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